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9 FOR THE CENTRAL DISTRICT OF CALIFORNIA | POG ~
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10 February 2005 Grand Jury | a3 e
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ll }} UNITED STATES OF AMERICA, CR No. 05-1046 (C)-RMT
12 Plaintiff, THIRD
SUPERSEDING
13 Vv. INDICTMENT

14]] ANTHONY PELLICANO,
MARK ARNESON,

15 || RAYFORD EARL TURNER,
KEVIN KACHTKIAN,

16] ROBERT PFEIFER,
ABNER NICHERIE,

17|| DANIEL: NICHERIE, and
TERRY CHRISTENSEN,

[18 U.S.C. § 1962 (c)
Racketeer Influenced and
Corrupt Organizations (RICO);
18 U.S.C. § 1962(d): RICO
Conspiracy; 18 U.S.C. §§ 1343,
1346: Honest Services Wire
Fraud; 18 U.S.C.

§ 1030(a) (2) (B), (c) (2) (B) (i):

18 Unauthorized Computer Access
Defendants. of United States Agency

19 Information; 18 U.5.C.

20 18 U.S.C. § 1030(a) (4):
Computer Fraud; 18 U.S.C.

21 § 371: Conspiracy; 18 U.S.C.
$ 2511(1) (a), (d}: Interception

22 of Wire Communications; 18
U.S.C. § 2512(1) (b):

23 Possession of Wiretapping
Device; 18 U.S.C.

24 § 1001(a) (2): False
statements; 18 U.S.C.

25 § 1512 (b) (3): Witness
Tampering; 18 U.S.C.

26 § 1512(c) (1): Destruction of
Evidence; 18 U.S.C. § 2:

27 Aiding and Abetting and

93 Causing an Act to Be Done; 18

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} § 1028(a) (7): Identity Theft;
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U.S.C. § 1963: RICO Forfeiture]

 

 

 

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The Grand Jury charges:
‘COUNT ONE

[18 U.S.C. § 1962(c)]
[Racketeering]
{Defendants PELLICANO, ARNESON, and TURNER]
I. ° INTRODUCTION
At all times relevant to this Third Superseding Indictment
(this “Indictment”):
A. Defendants and Their Associates

1. Defendant ANTHONY PELLICANO was a private investigator
doing business under the names of Pellicano Investigative Agency,
Ltd., Anthony J. Pellicano Negotiations, Forensic Audio Lab, and

Syllogistic Research Group, all located at 9200 Sunset Boulevard, -

|| Suite 322, Los Angeles, California 90210. Defendant PELLICANO

was licensed as a private investigator from in or around 1983
until on or about February 2, 2004, by the California Department
of Consumer Affairs’ Bureau of Security and Investigative
Services.

2. Defendant MARK ARNESON was a public official and sworn
law enforcement officer employed by the City of Los Angeles,
California, as an officer of the Los Angeles Police Department

(“LAPD”). On or about June 10, 1974, defendant ARNESON took his
oath of office as an LAPD officer, swearing that he would well
and faithfully discharge the duties of his office. After taking

this oath, defendant ARNESON became an LAPD police officer in

an LAPD Sergeant in April 1996. As a public official and sworn

 

June 1974, became an LAPD Detective in September 1984, and became |

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- 1] law enforcement officer, defendant ARNESON owed a duty of honest
2\| services to the LAPD and the citizens he was sworn to serve.
3 3. Defendant RAYFORD EARL TURNER was, prior to his
4] retirement on or about December 15, 2001, employed by SBC and its
5|| predecessor company, Pacific Bell (collectively “SBC”) as a field
6} technician.
7 4. Craig Stevens’ was a public official and sworn law
8 | enforcement officer employed by the City of Beverly Hills,
9] California, as an officer of the Beverly Hills Police Department
10] (“BHPD”). As a public official and sworn law enforcement
ll |i officer, Stevens owed a duty of honest services to the BHPD and
12|| the citizens he was sworn to serve.
13 5.. .Teresa Wright was, prior to her termination on or about
(14) November 21, 2003, employed by SBC as a sales support manager.
154] B. THE LAPD AND BHPD COMPUTER SYSTEMS
16 6. From on or about June 10, 1974, through on or about
17] October 10, 2003, as a result of his position as an LAPD officer,
18] defendant ARNESON was authorized to access LAPD’s computer system
19/| in the Los Angeles Pacific Division offices and elsewhere to
20) obtain criminal history and other law enforcement information
21! from computer systems and databases maintained exclusively for
22 || law enforcement uses, including the National Crime: Information
23] Center (“NCIC”) and the California Department of Motor Vehicles
24] (“DMV”). Defendant ARNESON was authorized to access these law
25 enforcement computer systems and databases only for official LAPD
/26] purposes related to his official investigative duties.
27 7. As part of his LAPD oath of office, defendant ARNESON
. 28} swore that he would adhere to the standards of conduct set forth
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in the LAPD Manual. The LAPD Manual prohibits an LAPD officer

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from making unauthorized use of information obtained through
employment with the LAPD, disclosing law-enforcement information
except as required in the performance of official duties, using
LAPD computer systems and information obtained through them for
non-official purposes, releasing criminal history information to
individuals lacking legal authority to have access to such
information, and/or engaging in outside employment without prior
approval.

8. From on or about May 5, 1982, through on or about
January 6, 2006, as a result of his position as a BHPD officer,
Craig Stevens was authorized to access BHPD’s computer system in
the BHPD offices and elsewhere to obtain criminal history and
other law enforcement information from computer systems and
databases maintained exclusively for law enforcement uses,
including NCIC and DMV. Craig Stevens was authorized to access
these law enforcement computer systems and databases only for
official BHPD purposes related to his official investigative
duties.

9. NCIC is accessed remotely by law enforcement computer
terminals located throughout the United States and is therefore
used in interstate communication. NCIC, which is operated by the
Federal Bureau of Investigation, maintains a database of
electronically stored information located in Clarksburg, West
Virginia.

10. The LAPD and BHPD computer systems are exclusively for
the use of the LAPD and BHPD respectively and are used in

interstate communication.

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Cc. SBC’'S CONFIDENTIAL AND PROPRIETARY INFORMATION

11. SBC’s written Code of Business Conduct requires that
employees maintain the privacy of customer records, including the
number and type of customers’ telephone lines and records of
customers’ telephone usage. SBC employees are prohibited from
accessing, using or disclosing customer records, reports or
proprietary information without a valid business reason.

12. In her capacity as a sales support manager for SBC,
Teresa Wright was authorized to access SBC’s computer system in
the SBC offices and elsewhere to obtain confidential information
on SBC's residential customers, including telephone toll records,
telephone numbers, and home addresses, from computer systems and
databases maintained exclusively for law enforcement uses,
including the Billing and Order Support System (“BOSS”), the
Premises Information System (“PREMIS”), and the Service Order
Retrieval and Distribution System (°SORD”) . Teresa Wright was
authorized to access these computer systems and databases only
for valid SBC business reasons.

13. In his capacity as a field technician for SBC,
defendant TURNER had authorization to obtain confidential
information on SBC's residential customers from other SBC
employees with access to SBC computer systems and databases,
including Teresa Wright. Defendant TURNER was authorized to
obtain this confidential information only for valid SBC business
reasons. Defendant TURNER’s authorization to obtain any such
confidential information for any purpose ended with his

retirement from SBC on or about December 15, 2001.

 

 
 

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II. THE ENTERPRISE

14, At all times relevant to this Indictment, defendants
ANTHONY PELLICANO, MARK ARNESON, and RAYFORD EARL TURNER,
together with other individuals known and unknown to the Grand
Jury, and the Pellicano Investigative Agency, Ltd., together with
other legal entities known and unknown to the Grand Jury,
constituted an “enterprise,” as defined by Title 18, United
States Code, Section 1961(4), that is, a group of individuals and
tegal entities associated in fact (the “Enterprise”). The
Enterprise was bound together by the common purpose of earning
income through the conduct of diverse criminal activities
including, but not limited to, illegal wiretapping, unauthorized
access of protected computers, wire fraud, bribery, identity
theft, and obstruction of justice. The Enterprise constituted an
ongoing organization whose members functioned as a continuing
unit for a common purpose of achieving the objectives of the
enterprise. The Enterprise operated primarily in Los Angeles,
California, within the Central District of California. The
Enterprise was’ engaged in, and its activities affected,

interstate commerce.

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JII. PURPOSES OF THE ENTERPRISE
15. The purposes of the Enterprise included:

a. Enriching the members and associates of the
Enterprise through obtaining private, personal, and confidential
information regarding defendant PELLICANO’s investigative targets
and litigative opponents through illegal means, including but not
limited to identity theft, wire fraud, bribery, and unauthorized
access of protected computer databases.

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b. Enriching the members and associates of the
Enterprise’ through using the illegally obtained information to
subvert and corrupt the judicial process.

Cc. Enriching the members and associates of the
Enterprise through using the illegally obtained information to
strengthen and expand defendant PELLICANO’s reputation and
ongoing relationship with lucrative clients, including

entertainment celebrities and executives, attorneys, and law

firms.
| d. Promoting and enhancing the Enterprise and its
members’ and associates’ activities.
IV. MANNER AND MEANS OF THE ENTERPRISE
16. Defendants and their associates conducted and
participated in the conduct of the management, operation, and

affairs of the Enterprise in the manner and by the means
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described below.

17. Defendant PELLICANO was the organizer and leader of the
Enterprise and directed other members of the Enterprise in
carrying out unlawful and other activities in furtherance of the
conduct of the Enterprise’s affairs. Defendant PELLICANO was
responsible for securing clients who were willing and able to pay
large sums for the purpose of obtaining personal information of a
confidential, embarrassing, or incriminating nature regarding
other individuals, including opponents or witnesses in criminal
or civil litigation, who became the Enterprise’ s investigative
targets.

18. Defendant PELLICANO paid bribes to corrupt public
officials, including defendant ARNESON, Craig Stevens, and others

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known and unknown to the Grand Jury, and to corrupt telephone -
company employees, including defendant TURNER, Teresa Wright, and
others known ‘and unknown to the Grand Jury, for purposes of
obtaining confidential and proprietary information regarding the
Enterprise’s investigative targets.

19. With respect to defendant ARNESON:

a. Defendant PELLICANO provided defendant ARNESON
with names and/or other personal identifying information of
individuals whom defendant PELLICANO was investigating and as to
whom he wished to obtain confidential law enforcement
information.

b. Defendant ARNESON accessed without authorization,
and in excess of his authorized access, the LAPD computer system
to obtain and provide criminal history and other law enforcement
information for the use of defendant PELLICANO.

om Defendant ARNESON solicited, and defendant
PELLICANO provided to defendant ARNESON, payment for obtaining
and providing criminal history and other law enforcement
information. In particular, defendant PELLICANO made payments to
defendant ARNESON by means of Pellicano Investigative Agency,
Ltd. business checks in at least the following amounts in return

for obtaining and providing criminal history and other law

enforcement information:

 

Year Minimum Payment
1997 $8,875

1998 $47,915

1999 $38,325

2000 $34,500

 

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2001 ~- $32,250

2002 $27,500
Defendant ARNESON solicited and received from defendant PELLICANO
additional payments in cash in order to conceal these additional
payments received from defendant PELLICANO.

d. Defendant ARNESON failed to obtain permission from
LAPD to engage in employment for defendant PELLICANO.

20. With respect to Craig Stevens:

a. Defendant PELLICANO provided Stevens with names
and/or other personal identifying information of individuals whom
defendant PELLICANO was investigating and as to whom he wished to
obtain confidential law enforcement information.

--D, Stevens accessed.without. authorization, and in
excess of his authorized access, the BHPD computer system to
obtain and provide criminal history and other law enforcement
information for the use of defendant PELLICANO,

Cc. Stevens solicited, and defendant PELLICANO
provided to Stevens, payment for obtaining and providing criminal
history and other law enforcement information.

d. Stevens failed to obtain permission from BHPD to
engage in employment for defendant PELLICANO.

al. With respect to defendant TURNER and Teresa Wright:

a. Defendant PELLICANO provided defendant TURNER with
names and/or other personal identifying information of
individuals whom defendant PELLICANO was investigating and as to

whom he wished to obtain confidential and proprietary telephone

company information from SBC.

 

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b. Defendant TURNER would access without
authorization, and in excess of his authorized access, and cause
Wright to access without authorization, and in excess of both his
and her authorized access, the SBC computer system in order,
under the guise of performing legitimate work-related duties, to
obtain confidential and proprietary telephone company information

for the use of defendant PELLICANO.
c. Defendant TURNER solicited, and defendant

PELLICANO provided to defendant TURNER, payment for obtaining and
providing confidential and proprietary telephone company
information. In particular, defendant PELLICANO made payments to
defendant TURNER by means of Pellicano Investigative Agency, Ltd.
business checks in at least-the following amounts in return for. .
obtaining and providing confidential and proprietary telephone

company information:

Year Minimum Payment
1997 $10,100

1998 $8,625

1999 $8,975

2000 $4,000

2001 $3,080

2002 $1,875

Defendant TURNER solicited and received from defendant PELLICANO
additional payments in cash in order to conceal these additional
payments received from defendant PELLICANO.

22. Defendant PELLICANO provided the criminal history and
other law enforcement information received from defendant
ARNESON, Craig Stevens, and other corrupt public officials, and

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the confidential and proprietary telephone company information

received from defendant TURNER and others, to the Enterprise’s

clients in return for payment.

23. In many instances, defendant PELLICANO used and sought
to use this illegally obtained information to facilitate further
criminal conduct to enrich the Enterprise, including threats,
blackmail, and illegal wiretapping directed against the
Enterprise’ s investigative targets. In particular, at defendant
PELLICANO’s direction, defendant TURNER and others known and
unknown to the Grand Jury used their expertise and access to
proprietary telephone company equipment to assist defendant
PELLICANO in using the illegally obtained information to
implement illegal wiretaps, which defendant PELLICANO ...
accomplished through the use of computer software and hardware
designed by Kevin Kachikian.

24, Defendant PELLICANO provided the information obtained
by these and other legai and illegal means to the Enterprise’s
clients, both known and unknown to the Grand Jury, who would use
the illegally obtained information provided by defendant
PELLICANO for their own purposes, including preparation for and

conduct of civil and criminal litigation.
,

20. In return, defendant PELLICANO would secure payments
From these clients, which payments were used, in part, to promote
and expand the Enterprise’s criminal and other operations.

V. CONDUCT OF THE AFFAIRS OF THE ENTERPRISE THROUGH
A PATTERN OF RACKETEERING ACTIVITY
26. Beginning on a date unknown to the Grand Jury and

continuing until in or around December 2002, within the Central

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District of California and elsewhere, defendants ANTHONY
PELLICANO, MARK ARNESON, and RAYFORD FARL TURNER, together with
others known and unknown to the Grand Jury, being persons
employed by and associated with the Enterprise, which was engaged
in, and the activities of which affected, interstate commerce,
knowingly conducted and participated, directly and indirectly, in
the conduct of the affairs of that enterprise through a pattern
of racketeering activity as defined in Title 18, United States
Code, Sections 1961(1) and 1961(5), that is, through the
commission of Racketeering Acts One through Ninety-One as set
forth in paragraphs 27 through 36 below.

Racketeering Acts One Through Sixty-Three

(Wire.. Fraud)

27. On or about each of the following dates, within the
Central District of California, in violation of Title 18, United
States Code, Sections 1343, 1346, and 2, defendants PELLICANO and
ARNESON, aiding and abetting each other, having knowingly and
with intent to defraud devised and participated in a scheme to
defraud and deprive the LAPD and the citizens of the City of Los
Angeles of their right to defendant ARNESON’s honest services by
using defendant ARNESON’s authority and official position as an
LAPD officer to enrich themselves by receiving payments in return
for obtaining and providing criminal history and other law
enforcement information, as described in paragraphs 19 and 22
through 25 of this Indictment, for the purpose of executing and
attempting to execute this scheme, transmitted and caused to be
transmitted by means of wire communication in interstate commerce
writings, signs, and signals, that is, computer transmissions

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from Los Angeles, California searching NCIC in Clarksburg, West

Virginia for criminal history and other law enforcement

information on the following persons:

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ACT DATE PERSON
1 January 11, 1999 | Jane Doe #4 in People v. John Gordon
Jones, Los Angeles County Superior
- Court Case No. BA109907
2 January 11, 1999 | Jane Doe #5 in People v. John Gordon
Jones, Los Angeles County Superior
Court Case No. BA109907
3 January 20, 1999 |Garry Shandling
4 January 20, 1999 |Mariana Grant
5 January 25, 1999 | Jane Doe #6 in People v. John Gordon
Jones, Los Angeles County Superior
Court Case No. BA109907
6 January 25, 1999 |Jane Doe #7 in People v. John Gordon
St ~ Jones, Los Angeles County Superior -
Court Case No. BA109907
7 February 9, 1999 | Jane Doe #8 in People v. John Gordon
Jones, Los Angeles County Superior
Court Case No. BA109907
8 February 10, 1999 | James Nielsen
9 March 2, 1999 Darcy LaPier
10 March 4, 1999 Kevin Nealon
li March 4, 1999 Linda Nealon
12 March 4, 1999 Linda Doucett
13 March 9, 1999 Gavin DeBecker
14 March 15, 1999 Bilal Baroody
15 May 4, 1999 Ali Amghar
16 May 4, 1999 Vanessa Etourneau
17 May 4, 1999 Lea Dabany
18 May 4, 1999 Felicia Fuller
19 May 4, 1999 Bonita Jones
20 May 11, 1999 Lilian Pinho

 

 

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ACT DATE PERSON

21 July 30, 1999 Monika Zsibrita
22 October 16, 1999 | Christopher Pair
23 October 16, 1999 Suzanne Pair

24 October 16, 1999 Michael Rosen
(25 October 21, 1999 Carol Rosen

26 May 15, 2000 Kissandra Cohen
27 May 15, 2000 Michael Cohen
28 August 2, 2000 Peter Kuhns

29 August 2, 2000 Erin Finn

30 November 22, 2000 | Laura Buddine
31 January 3, 2001 Lisa Gores

32 January 3, 2001 Thomas Gores

33 February 6, 2001. {Vincent Zenga
34 February 6, 2001 | Jerome 4enga

35 February 13, 2001 | Jessica Schutte
36 February 14, 2001 Stacy Codikow
37 February 14, 2001 | Paul Durazzo

38 February 20, 2001 | Zorianna Kit

39 March 13, 2001 Gregory Dovel
40 April 26, 2001 Keith Carradine
41 April 26, 2001 Hayley Dumond
42 August 24, 2001 Sandra Rodriguez
43 August 24, 2001 Ester Pina

44 August 24, 2001 Mirella Lavorin
45 August 24, 2001 Carrie Cagle

46 October 18, 2001 |George Kalta

47 February 19, 2002 | Kevin Templeton
48 March 15, 2002 Patrick Theohar
49 March 18, 2002 Laura Moreno

 

 

 

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ACT DATE PERSON

50 March 18, 2002 Marcus Moreno

51 April 3, 2002 Pamela Miller

52 April 19, 2002 Michael Kolesa
53 May 9, 2002 Arthur Bernier
54 May 16, 2002 James Casey

55 May 16, 2002 Andrew Miller

56 May 16, 2002 Anita Busch

57 May 16, 2002 Bernard Weinraub
58 May 16, 2002 Richard Miller
59 May 16, 2002 | Joyce Miller

60 September 4, 2002 |Timea 4sibrita
61 October 29, 2002 |Lucille Salter
62- October 29,..2002 | David Salter ; .
63 October 29, 2002 |Cindy Salter

 

 

Racketeering Acts Sixty-Four Through Sixty-Five
(Wire Fraud)

28. On or about each of the following dates, within the
Central District of California, in violation of Title 18, United
States Code, Sections 1343, 1346, and 2, defendant PELLICANO and
Craig Stevens, aiding and abetting each other, having knowingly
and with intent to defraud devised and participated in a scheme
to defraud and deprive the BHPD and the citizens of the City of
Beverly Hills of their right to Stevens’ honest services by using
Stevens’ authority and official position as a BHPD officer to
enrich themselves by receiving payments in return for obtaining
and providing criminal history and other law enforcement
information, as described in paragraphs 20 and 22 through 25 of

this Indictment, for the purpose of executing and attempting to

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execute this scheme, transmitted and caused to be transmitted by

means of wire communication in interstate commerce writings,

 

 

 

signs, and signals, that 1s, computer transmissions from Beverly
Hills, California searching NCIC in Clarksburg, West Virginia for
criminal history and other law enforcement information on the
following persons:

ACT | DATE _| PERSON

64 ‘|November 9, 2001 Max Russo

65 December 18, 2001 | Adam Sender

 

 

 

 

 

Racketeering Acts Sixty-Six Through Seventy-Eight
(Identity Theft)

29, on or about each of the following dates, within the
Central District of California and élsewhere, in violation of
Title 18, United States Code, Section 1028{(a) (7), defendants
PELLICANO and ARNESON knowingly transferred, possessed, and used,
and caused to be transferred, possessed, and used, without lawful
authority, the following means of identification, with the intent
to commit, and to aid and abet, and in connection with, an
unlawful activity that constituted a violation of Federal law,

namely, Title 18, United States Code, Section 1030 (a) (4)

 

 

 

(computer fraud), and a felony under applicable State law,

namely, California Penal Code Section 502(c}(2) (unauthorized

access to computer data):

ACT DATE MEANS OF IDENTIFICATION

66 January 20, 1999 |Name of Warren Grant

67 January 21, 1999 |Name of Jane Doe #3 in People v. John
Gordon Jones, Los Angeles County
Superior Court Case No. BA109907

 

 

 

 

 

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ACT DATE MEANS OF IDENTIFICATION

68 January 22, 1999 Name of Jane Doe #2 in People v. John
Gordon Jones, Los Angeles County
Superior Court Case No. ‘BA109907

 

 

69 February 9, 1999 |Name of Julie Westby

70 February 22, 1999 |Name of Jane Doe #1 in People v. John
Gordon Jones, Los Angeles County
Superior Court Case No. BA109907

 

 

 

 

 

 

 

 

 

 

 

 

 

71 May 28, 1999 Name of George Mueller
72 May 15, 2000 Name of Mandy Cohen

73 August 18, 2000 Name of Aaron Mestman
74 April 26, 2001 Name of Jude Green

75 August 10, 2001 |Name of Bryan Lourd

76 August 10, 2001 Name of Kevin Huvane
77 March 18, 2002 Name of Loretta Moreno
78 March 21, 2002 Name of Steven Roman

 

Racketeering Acts Seventy-Nine Through Fighty-Five
{Identity Theft)

30. On or about each of the following dates, within the
Central District of California and elsewhere, in violation of
Title 18, United States Code, Section 1028(a) (7), defendant
PELLICANO knowingly transferred, possessed, and used, and caused
to be transferred, possessed, and used, without lawful authority,
the following means of identification, with the intent to commit,
and to aid and abet, and in connection with, an unlawful activity
that constituted a violation of Federal law, namely, Title 18,

United States Code, Section 1030(a}(4) (computer fraud), anda

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felony under applicable State law, namely, California Penal Code

Section 502(c) (2) (unauthorized access to computer data):

 

 

 

 

 

 

 

 

ACT DATE MEANS OF IDENTIFICATION
79 November 3, 1999 ;Name of Christopher Pair
80 November 3, 1999 Name of Suzanne Pair

81 February 1, 2000 |Name of Ami Shafrir

82 April 4, 2001 Name of Aaron Russo

83 April 4, 2001 Name of Heidi. Gregg

84 April 4, 2001 Name of Maxwell Russo

85 April 4, 2001 Name of Samuel Russo

 

 

 

 

 

Racketeering Acts BEighty-Six Through Ninety
(Identity Theft)
31. - On or about each of the following dates, within the
in violation of

Central District of California and elsewhere,

Title 18, United States Code, Section 1028(a) (7), defendants

PELLICANO and TURNER knowingly transferred, possessed, and used,
and caused to be transferred, possessed, and used, without lawful
authority, the following means of identification, with the intent
to commit, and to-aid and abet, and in connection with, an
unlawful activity that constituted a violation of Federal law,
namely, Title 18, United States Code, Section 1030(a) (4)
(computer fraud), and a felony under applicable State law,

namely, California Penal Code Section 502(c) (2) (unauthorized

access to computer data):

 

ACT MEANS OF IDENTIFICATION

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DATE

 

August 2, 2000 Name and Telephone Number of Erin

 

 

 

 

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ACT DATE MEANS OF IDENTIFICATION

87 February 13, 2001 ]|Name of and Telephone Number of Bo
Zzenga

88 April 2, 2001 Name and Telephone Number of Heidi

Gregg

89 February 12, 2002 |Name and Telephone Number of Johnny
Friendly

90. May 16, 2002 Name and Telephone Number of Anita
Busch

 

 

 

 

 

Racketeering Act Ninety-One
(Conspiracy to Commit Bribery)

32. Beginning on a date unknown to the Grand Jury and
continuing until on or about November 21, 2002, in Los Angeles
County, within the Central District of California, and elsewhere,
in violation of California Penal Code § 182, defendants PELLICANO
and ARNESON knowingly conspired and agreed with each other to:

a. knowingly give and offer bribes to an executive
officer of the City of Los Angeles, with intent to influence that
officer in respect to an act as such officer, to wit, the use of
proprietary law enforcement databases to obtain criminal history
and other law enforcement information for non-official use, in
violation of California Penal Code § 67; and

b. knowingly ask, receive, and agree to receive a
bribe to an executive officer of the City of Los Angeles, upon an
agreement and understanding that the officer’s action upon
matters then pending and that might be brought before him in his
official capacity, to wit, the use of proprietary law enforcement

databases to obtain criminal history and other law enforcement

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information for non-official use, would be influenced thereby, in
violation of California Penal Code § 68.

33. The objects of the conspiracy were to be accomplished,
in substance, as follows:

34. Defendant PELLICANO would and did pay bribes,
consisting of a $2500 monthly retainer and additional payments by
check and in cash, to defendant ARNESON to induce defendant
ARNESON to violate his LAPD oath of office and use his official
position to obtain, and to provide to defendant PELLICANO,
confidential law enforcement information.

35. Defendant ARNESON would and did receive the bribes from
defendant PELLICANO and would and did agree to be influenced
thereby in responding .favorably to defendant PELLICANO’s requests
that defendant ARNESON violate his LAPD oath of office and use
his official position to obtain, and to provide to defendant
PELLICANO, confidential law enforcement information.

36. On or about each of the following dates, within the
Central District of California and elsewhere, in furtherance of
the conspiracy and to accomplish the objects of the conspiracy,
defendants PELLICANO and ARNESON committed the following overt
acts, among others, which consisted of the giving by PELLICANO

and receiving by ARNESON of bribe payments in the following

 

 

 

 

amounts:

OVERT ACT DATE AMOUNT
1 February 10, 1997 $2500
2 May 5, 1997 $2000
3 June 4, 1997 $375

 

 

 

 

 

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OVERT ACT DATE AMOUNT
4 August 28, 1997 $1500
5 November 25, 1997 $2500
6 February 5, 1998 $2500
7 February 26, 1998 $2500
8 March 24, 1998 $2500
9 April 17, 1998 $2500
10 May 14, 1998 $2500
11 June 18, 1998 $4450
12 July 23, 1938 $2500
13 August 14, 1998 $4350
14. August 27, 1998 $2500
15 September 15, 1998 $6000
16. October 9, 1998 $5440.82 _ _
17 November 3, 1998 $2500
18 November 23, 1998 $3300
19 December 17, 1998 $2500
20 December 31, 1998 $1875
21 March 18, 1939 $2500
22 March 23, 1999 $3050
23 April 21, 1999 $2500
24 May 4, 1999 $5175
25 May 12, 1999 $1350
26 May 26, 1999 $2500
27 June 29, 1999 $2500
28 July 23, 1999 $2500
29 August 2, 1999 $1125
30 August 20, 1999 $3850
31 September 21, 1999 $2500
32 October 26, 1999 $1275

 

 

 

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OVERT ACT DATE AMOUNT
33 November 16, 1999 $2500
34 December 17, 1999 $2500
35 January 25, 2000 $2500
36 February 25, 2000 $3060
37 March 24, 2000 $2500
38 April 20, 2000 $2500
39 May 18, 2000 $2500
40 June 16, 2000 $2500
41 July 20, 2000 $2500
42 August 8, 2000 $2500
43 September 15, 2000 $2500
44 September 25, 2000 $1440
45 October 23, 2000 ‘| $2500
46 November 23, 2000 $2500
47 December 13, 2000 $5000
48 January 10, 2001 $4750
49 February 22, 2001 $2500
50 March 20, 2001 $2500
51 April 20, 2001 $2500
52 May 25, 2001 $2500
53 June 17; 2001 $2500
54 July 12, 2001 $2500
55 August 9, 2001 $2500
56 September 14, 2001 $2500
57 October 16, 2001 $2500
58 November 8, 2001 $2500
59 December 13, 2001 $2500
60 January 11, 2002 $2500
61 February 8, 2002 $2500

 

 

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OVERT ACT DATE AMOUNT
62 March 14, 2002 $2500
63 April 9, 2002 $2500
64 May 10, 2002 $2500
65 - June 13, 2002 $2500
66 July 11, 2002 $2500
67 August 12, 2002 $2500
68 September 16, 2002 $2500
69 October 10, 2002 $2500
70 November 7, 2002 $2500

 

 

 

 

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COUNT TWO
[18 U.S.C. § 1962 (d)]
[Racketeering Conspiracy]
[Defendants PELLICANO, ARNESON, and TURNER]

37. The Grand Jury hereby realleges Paragraphs 1 through 25
and 27 through 36 of this Indictment as though fully set forth
herein.

38. Beginning on a date unknown to the Grand Jury and
continuing until in and about December 2002, in the Central
District of California and elsewhere, defendants ANTHONY
PELLICANO, MARK ARNESON, and RAYFORD EARL TURNER, together with
other individuals known and unknown to the Grand Jury, and the
Pellicano Investigative Agency, Ltd., together with other legal
entities known and unknown to the Grand Jury, knowingly and
intentionally conspired to violate Title 18, United States Code,
Section 1962(c), that is, to conduct and participate, directly
and indirectly, in the conduct of the affairs of the Enterprise,
as defined in paragraph 14 of this Indictment, through a pattern
of racketeering activity, as defined in Title 18, United States
Code, Sections 1961(1) and 1961(5), namely, the acts set forth in
paragraphs 27 through 36 of this Indictment, with each defendant
agreeing that a conspirator would commit at least two acts of
racketeering activity in the conduct of the affairs of the

Enterprise.

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COUNTS THREE THROUGH THIRTY-THREE
[18 U.S.c. §§ 1343, 1346, 2}
[Honest Services Wire Fraud]
[Defendants PELLICANO and ARNESON]
39. The Grand Jury hereby realleges Paragraphs 1-2, 6-7, 9-
10, 19 and 22-25 of this Indictment as though fully set forth
herein.
40. On or about each of the following dates, within the
Central District of California, defendants ANTHONY PELLICANO and
MARK ARNESON, and others known and unknown to the Grand Jury,

aiding and abetting each other, having knowingly and with intent

 

to defraud devised and participated in a scheme to defraud and
deprive the LAPD and the citizens.of the City of.Los Angeles of. .
their right to defendant ARNESON’s honest services by using
defendant ARNESON’s authority and official position as an LAPD
officer to enrich themselves by receiving payments in return for
obtaining and providing criminal history and other law
enforcement information, as described in paragraphs 19 and 22-25
of this Indictment, for the purpose of executing and attempting
to execute this scheme, transmitted and caused to be transmitted
by means of wire communication in interstate commerce writings,
signs, and signals, that is, computer transmissions from Los
Angeles, California searching NCIC in Clarksburg, West Virginia

for criminal history and other law enforcement information on the

following persons:

 

COUNT | DATE PERSON

 

 

 

 

 

3 February 6, 2001 | Vincent Zenga

 

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COUNT | DATE PERSON

4 February 6, 2001 Jerome Zenga

3 February 13, 2001 | Jessica Schutte
6 February 14, 2001 Stacy Codikow

7 February 14, 2001 | Paul Durazzo

8 February 20, 2001 | Zorianna Kit

9 March 13, 2001 Gregory Dovel
10 April 26, 2001 Keith Carradine
il April 26, 2001 Hayley Dumond
12 August 24, 2001 Sandra Rodriguez
13 August 24, 2001 Ester Pina

14 August 24, 2001 Mirella Lavorin
15 August 24, 2001 Carrie Cagle

16 October 18,..2001 | George Kalta

17 February 19, 2002 | Kevin Templeton
18 March 15, 2002 Patrick Theohar
19 March 18, 2002 Laura Moreno

20 March 18, 2002 Marcus Moreno
21 April 3, 2002 Pamela Miller
22 April 19, 2002 Michael Kolesa
23 May 9, 2002 Arthur Bernier
24 May 16, 2002 James Casey

25 May 16, 2002 Andrew Miller
26 May 16, 2002 Anita Busch

27 May 16, 2002 Bernard Weinraub
28 May 16, 2002 Richard Miller
29 May 16, 2002 Joyce Miller

30 September 4, 2002 |Timea Zsibrita
31 October 29, 2002 Lucille Salter
32 October 29, 2002 David Salter

 

 

 

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COUNT | DATE

PERSON

 

 

33 October 29,

 

2002

 

Cindy Salter

 

 

 

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COUNTS THIRTY-FOUR THROUGH SIXTY-FOUR
(18 U.S.C. § 1030(a) (2) (B), (c) (2) (B) (i); 18 U.S.C. § 2]
(Unauthorized Computer Access of United States Agency ,
Information]
{Defendants PELLICANO and ARNESON]

41. .The Grand Jury hereby realleges Paragraphs 1-2, 6-7, 9-
10, 19 and 22-25 of this Indictment as though fully set forth
herein.

42. On or about each of the following dates, in Los Angeles
County, within the Central District of California, and elsewhere,
defendant MARK ARNESON, aided and abetted by defendant ANTHONY
PELLICANO, intentionally accessed a computer without
authorization and in excess.of his authorized access and thereby
obtained information from a department and agency of the United
States for purposes of private financial gain, that is, defendant
ARNESON, aided and abetted by defendant PELLICANO, accessed and
caused to be accessed the LAPD computer system without
authorization and in excess of his authorized access to obtain
criminal history and other law enforcement information for the
persons named below from the NCIC database maintained by the

Federal Bureau of Investigation, an agency of the United States

 

 

 

 

Government, for purposes of obtaining payment from defendant
PELLICANO:

COUNT | DATE PERSON

34 February 6, 2001 | Vincent Zenga

35 February 6, 2001 | Jerome Zenga

36 February 13, 2001] Jessica Schutte

 

 

 

 

 

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COUNT | DATE PERSON

37 February 14, 2001 | Stacy Codikow
38 February 14, 2001 | Paul Durazzo

39 February 20, 2001 | Zorianna Kit
40 March 13, 2001 Gregory Dovel
41 April 26, 2001 Keith Carradine
42 April 26, 2001 Hayley Dumond
43 August 24, 2001 Sandra Rodriguez
44 August 24, 2001 Ester Pina

45 August 24, 2001 Mirella Lavorin
46 August 24, 2001 Carrie Cagle

47 October 18, 2001 |George Kalta

48 February 19, 2002 | Kevin Templeton
49 March 15, 2002 Patrick Theohar
50 March 18, 2002 Laura Moreno

51 March 18, 2002 Marcus Moreno
52 April 3, 2002 Pamela Miiler
53 April 19, 2002 Michael Kolesa
54 May 9, 2002 Arthur Bernier
55 May 16, 2002 James Casey

56 May 16, 2002 Andrew Miller
57 May 16, 2002 Anita Busch

58 May 16, 2002 Bernard Weinraub
59 May 16, 2002 Richard Miller
60 | May 16, 2002 Joyce Miller

61 September 4, 2002 | Timea Zsibrita
62 October 29, 2002 {Lucille Salter
63 October 29, 2002 |David Salter

64 October 29, 2002 Cindy Salter

 

 

 

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To

COUNTS SIXTY-FIVE THROUGH SIXTY-NINE
(18 U.S.C. §§ 1028(a) (7), 2]

[Identity Theft]

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[Defendants PELLICANO and ARNESON]
43. The Grand Jury hereby realleges Paragraphs 1-2, 6-7, 9-

10, 19 and 22-25 of this Indictment as though fully set forth

herein.

44. On or about each of the following dates, in Los Angeles
County, within the Central District of California, and elsewhere,
defendants ANTHONY PELLICANO and MARK ARNESON knowingly
transferred, possessed, and used, and caused to be transferred,
possessed, and used, without lawful authority, the following
means of identification of another person with the intent to
commit, and to aid and abet, and in connection with, an unlawful
activity that constituted a violation of Federal law, to wit,
Title 18, United States Code, Section 1030(a) (4) (computer
fraud), and a felony under applicable State law, to wit,

California Penal Code Section 502(c)(2) (unauthorized access to

computer data):

 

 

 

 

 

 

COUNT | DATE MEANS OF IDENTIFICATION
65 April 26, 2001 Name of Jude Green

66 August 10, 2001 Name of Bryan Lourd

67 August 10, 2001 Name of Kevin Huvane

68 March 18, 2002 Name of Loretta Moreno
69 March 21, 2002. Name of) Steven Roman

 

 

 

 

 

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COUNTS SEVENTY THROUGH SEVENTY-FOUR
[18 U.S.C. §§ 1030{(a) (4), 2)
[Computer Fraud]
[Defendants PELLICANO and ARNESON] -

45. The Grand Jury hereby realleges Paragraphs 1-2, 6-7, 9-
10, 19 and 22-25 of this Indictment as though fully set forth
herein.

46. On or about each of the following dates, in Los Angeles
County, within the Central District of California, and elsewhere,
defendant MARK ARNESON, aided and abetted by defendant ANTHONY
PELLICANO, knowingly and with intent to defraud, accessed without
authorization and in excess of his authorized access a protected
computer, namely, a computer in the LAPD computer system, and by
means of accessing the protected computer furthered the intended

fraud and obtained something of value, namely, DMV information

for the following persons:

 

 

 

 

 

 

 

 

 

 

COUNT | DATE PERSON

70, April 26, 2001. Jude Green

71 August 10, 2001 Bryan Lourd

72 August 10, 2001 Kevin Huvane
73 March 18, 2002 Loretta Moreno
74 March 21, 2002 Steven Roman

 

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COUNTS SEVENTY-FIVE THROUGH SEVENTY-SIX
[18.U.S.C. § 1343, 1346, 2]
[Honest Services Wire Fraud]

[Defendant PELLICANO]

47. The Grand Jury hereby realleges Paragraphs 1, 4, 8-10,
20, and 22-25 of this Indictment as though fully set forth
herein.

48. On or about each of the following dates, within the
Central District of California, defendant ANTHONY PELLICANO and
Craig Stevens, and others known and unknown to the Grand Jury,
aiding and abetting each other, having knowingly and with intent
to defraud devised and participated in a scheme to defraud and
deprive the BAPD and the citizens of the City of Beverly Hills of
their right. to Stevens’ honest services by using Stevens’
authority and official position as a BHPD officer to enrich
themselves by receiving payments in return for obtaining and
providing criminal history and other law enforcement information,
as described in paragraphs 20 and 22-25 of this Indictment, for
the purpose of executing and attempting to execute this scheme,
transmitted and caused to be transmitted by means of wire
communication in interstate commerce writings, signs, and
signals, that is, computer transmissions from Los Angeles, |

California searching NCIC in Clarksburg, West Virginia

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for criminal history and other law enforcement information on the

 

 

 

 

 

 

following persons:

COUNT | DATE’ PERSON

75 November 3, 2001 |Max Russo
76 December 18, 2001 | Adam Sender

 

 

 

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COUNTS SEVENTY-SEVEN THROUGH SEVENTY-EIGHT
[18 U.S.C. § 1030 (a) (2) (8), (c) (2) (B) (i); 18 U.S.C. § 2]
[Unauthorized Computer Access of United States Agency
Information]
[Defendant PELLICANO])

49, The Grand Jury hereby realleges Paragraphs 1, 4, 8-10,
20, and 22-25 of this Indictment as though fully set forth
herein.

50. On or about each of the following dates, in Los Angeles
County, within the Central District of California and elsewhere,
defendant ANTHONY PELLICANO aided and abetted Craig Stevens to
intentionally access a computer without authorization and in
excess of his authorized access and thereby obtain information .
from a department and agency of the United States for purposes of
private financial gain, that is, defendant PELLICANO aided and
abetted Craig Stevens to access and cause to be accessed the BHPD
computer system without authorization and in excess of his
authorized access to obtain criminal history and other law
enforcement information for the persons named below from the NCIC
database maintained by the Federal Bureau of Investigation, an

agency of the United States Government, for purposes of obtaining

payment from defendant PELLICANO:

 

 

 

COUNT | DATE PERSON
V7 November 9, 2001 |Max Russo
78 December 18, 2001 | Adam Sender

 

 

 

 

 

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COUNTS SEVENTY -NINE THROUGH EIGHTY-TWO
[18 U.S.C. $§ 1028(a) (7), 2]
[Identity Theft]

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[Defendant PELLICANO]

Sl. The Grand Jury hereby realleges Paragraphs 1, 4, 8-10,
20, and 22-25 of this Indictment as though fully set forth
herein.

52. On or about each of the following dates, in Los Angeles
County, within the Central District of California, and elsewhere,
defendant ANTHONY PELLICANO knowingly transferred, possessed, and
used, and caused to be transferred, possessed, and used, without
lawful authority, the following means of identification of
another person with the intent to commit, and to aid and abet,
and in connection with, an unlawful activity, that constituted a
violation of Federal law, to wit, Title 18, United States Code,
Section 1030(a) (4) (computer fraud}, and a felony under

applicable State law, to wit, California Penal Code Section

 

 

 

 

 

502(c) (2) (unauthorized access to computer data):
COUNT | DATE MEANS OF IDENTIFICATION
79 April 4, 2001 Name of Aaron Russo

80 April 4, 2001 Name of Heidi Gregg

81 April 4, 2001 © Name of Maxwell Russo
82 April 4, 2001 Name of Samuel Russo

 

 

 

 

 

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‘COUNTS EIGHTY-THREE THROUGH EIGHTY-SIX
[18 U.S.C. §§ 1030(a) (4), 2]
[Computer Fraud].

[Defendant PELLICANO]

53. The Grand Jury hereby realleges Paragraphs 1, 4, 8-10,
20,. and 22~25 of this Indictment as though fully set forth
herein.

54. On or about each of the following dates, in Los Angeles
County, within the Central District of California and elsewhere,
defendant ANTHONY PELLICANO aided and abetted Craig Stevens to
knowingly and with intent to defraud access without authorization
and in excess of his authorized access a protected computer,
namely, a computer in the BHPD computer system, and by means of
accessing the protected computer further the intended fraud and

obtain something of value, namely, DMV information for the

following persons:

 

 

 

 

 

 

 

 

 

COUNT | DATE MEANS OF IDENTIFICATION
83 April 4, 2001 Name.of Aaron Russo

84 April 4, 2001 {Name of Heidi Gregg

85 April 4, 2001 Name of Maxwell Russo
86 April 4, 2001 Name of Samuel Russo

 

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COUNTS EIGHTY-SEVEN THROUGH NINETY
[18 U.S.C. §§ 1028(a) (7), 2)
{Identity Theft]
{Defendants PELLICANO and TURNER]
55. The Grand Jury hereby realleges Paragraphs 1, 3, 5,.11-

13, and 21-25 of this Indictment as though fully set forth

herein.

56. On or about each of the following dates, in Los Angeles
County, within the Central District of California and elsewhere,
defendants ANTHONY PELLICANO and RAYFORD EARL TURNER knowingly
transferred, possessed, and used, and caused to be transferred,
possessed, and used, without lawful authority, a means of
identification of another person with the intent,.to commit, and
to aid and abet, and in connection with, an unlawful activity
that constituted a violation of Federal law, to wit, Title 18,
United States Code, Section 1030(a) (4) (computer fraud), anda
felony under applicable State law, to wit, California Penal Code

Section 502(c) (2) (unauthorized access to computer data):

 

 

 

 

 

COUNT | DATE MEANS OF IDENTIFICATION
87 February 13, 2001 |Name of and Telephone Number of Bo
: Z2enga

88 April 2, 2001 Name and Telephone Number of Heidi
Gregg

89 February 12, 2002 | Name and Telephone Number of Johnny

_| Friendly

90 May 16, 2002 Name and Telephone Number of Anita

Busch

 

 

 

 

 

 

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COUNTS NINETY-ONE THROUGH NINETY-FOUR
[18 U.S.C. §§ 1030(a) (4), 2]

[Defendants PELLICANO and TURNER]

The Grand Jury

13, and 21-25 of this Indictment as though fully set forth

On or about each of the following dates, in Los Angeles
County, within the Central District of California, and elsewhere,
defendants ANTHONY PELLICANO and RAYFORD EARL TURNER aided and
abetted Teresa Wright to knowingly and with intent.to defraud
access without authorization and in excess of her authorized
access a protected computer, namely, a Dell Latitude notebook
computer, model number CP1A366XT, serial number VK70N, located at
‘SBC, 1010 Wilshire Boulevard, Room 800, Los Angeles, California
90017, and by means of accessing the protected computer further
the intended fraud and obtain something of value, namely,

telephone subscriber information for the following SBC customers:

[Computer Fraud]

hereby realleges Paragraphs 1, 3, 5, 1l1-

 

 

 

 

 

 

 

COUNT | DATE SBC CUSTOMER

91 February 13, 2001 | Bo 4aenga

92 April 2, 2001 Heidi Gregg

93. February 12, 2002 | Johnny Friendly
94 May 16, 2002 Anita Busch

 

 

 

 

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COUNT NINETY-FIVE
(18 U.S.C. § 371]
[Conspiracy]
[Defendants PELLICANO, TURNER, and KACHIKIAN]
A. OBJECTS OF THE CONSPIRACY

59. Beginning on a date unknown to the Grand Jury and
continuing until on or about November 21, 2002, in Los Angeles
County, within the Central District of California, and elsewhere,
defendants ANTHONY PELLICANO, RAYFORD EARL TURNER, and KEVIN
KACHIKIAN, and others known and unknown to the Grand Jury,
knowingly conspired and agreed with each other to:

‘a. intentionally intercept, endeavor to intercept,
and procure other persons to intercept and endeavor to intercept
wire communications, in violation of Title 18, United States
Code, Section 2511(1)}) (a); and

b. intentionally use, and endeavor to use, the
contents of wire communications, knowing and having reason to
know that the information was obtained through the interception
of wire communications, in violation of Title 18, United States
Code, Section 2511(1) (d).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

60. The objects of the conspiracy were to be accomplished,
in substance, as follows:

61. At defendant PELLICANO’s direction, defendant KACHIKIAN
would and did develop, implement, and maintain a computer
software program to facilitate the illegal interception of
telephone calls. }

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62. Defendant PELLICANO would and did permit himself to be
retained by individuals and entities known and unknown to the
Grand Jury (“the clients”) for the purpose of implementing
illegal wiretaps of individuals, including the clients’
litigative opponents.

63. At defendant PELLICANO’s direction,. defendant TURNER, a
field technician for telephone company SBC (formerly Pacific
Bell), would and did access, and cause others known and unknown
to the Grand Jury to access, proprietary telephone company
databases and equipment to implement the illegal wiretaps.

64. Defendant PELLICANO would and did furnish the computer
hardware and software used to implement the illegal wiretaps,
including the-hardware and software designed by defendant
KACHIKIAN, review the contents of intercepted conversations, and
provide the contents of those conversations to the clients.

65. Defendant PELLICANO and the clients would and did use
the information for their own purposes, including securing a
tactical advantage in litigation by learning their opponents’
plans, strategies, perceived strengths and weaknesses, settlement
‘positions, and other confidential information.

C. OVERT ACTS

66. On or about each of the following dates, within the
Central District of California and elsewhere, in furtherance of
the conspiracy and to accomplish the objects of the conspiracy,
defendants PELLICANO, TURNER, and KACHIKIAN, and others known and
unknown to the Grand Jury, committed the following overt acts,

among others:

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67. Beginning in or around 1995, defendant KACHIKIAN began
developing for defendant PELLICANO “Telesleuth,” a computer
software program to be used for the purpose of intercepting
telephonic communications.

68. On or about March 11, 1996, defendant PELLICANO
requisitioned engineering services necessary for the completion
of hardware to be used in connection with the “Telesleuth”
wiretapping program.

69. From in or around January 1997 to in or around May
2002, defendant PELLICANO paid defendant TURNER at least $36,655
for the purpose of obtaining proprietary telephone company
information and facilitating illegal wiretaps.

70.- In or around May 1997,. defendants PELLICANO and TURNER
used the “Telesleuth” program to intercept telephone

communications of Robert Maguire.

71. Between in or around September 1997 and in or around
March 1998, defendant PELLICANO used the “Telesleuth” program to
intercept telephone communications of Mark Hughes.

72. In or around January 1998, defendant PELLICANO used the
“Telesleuth” program to intercept telephone communications of

James Orr.

73. In or around October 1999, defendant PELLICANO used the
“Telesleuth” program to intercept telephone communications of

Michael Rosen.

74. On or about July 19, 2000, defendants PELLICANO and
KACHIKIAN requisitioned Amuneal Manufacturing Corp. to create new
metal housings for the circuit boards used in connection with the
“Telesleuth” wiretapping program.

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75. In or around July 2000, defendant PELLICANO used the

“Telesleuth” program to intercept telephone communications of

Kissandra Cohen.

76. On or about August 2, 2000, defendant TURNER caused an
inquiry to be made of a proprietary SBC computer database to
obtain telephone information regarding Erin Finn.

V7. Between on or about August 2, 2000, and on or about
November 6, 2000, defendant PELLICANO used the “Telesleuth”
program to intercept telephone communications of Erin Finn.

78. Between in or around August 2000 and in or around
December 2000, defendant PELLICANO used the “Telesleuth” program
to intercept telephone communications of Ami Shafrir.

79. --In-or around January.2001, defendant PELLICANO used.the.

“Telesleuth” program to intercept telephone communications of

Lisa Gores.

80. Between in or around January 2001 and in or around June

2001, defendant PELLICANO used the “Telesleuth” program to
intercept telephone communications of Laura Buddine.

81. On or about February 13, 2001, defendant TURNER caused
an inquiry to be made of a proprietary SBC computer database to
obtain telephone information regarding Vincent Bo Zenga.

82. Between in or around February 2001, and in or around
April 2001, defendant PELLICANO used the “Telesleuth” program to
intercept telephone communications of Vincent Bo Zenga.

83. On or about April 2, 2001, defendant TURNER caused an
inquiry to be made of a proprietary SBC computer database to

obtain telephone information regarding Aaron Russo.

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84. In or around April 2001, defendant PELLICANO used the

“Telesleuth” program to intercept telephone communications of a
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Aaron Russo.

85. In or around May 2001, defendant PELLICANO used the
“Telesleuth” program to intercept telephone communications of
Keith Carradine.

86. On or about October 17, 2001, unindicted coconspirator
George Kalta paid defendant PELLICANO $25,000 to intercept
telephone communications of Laura Moreno.

87. Between on or about February 8, 2002, and on or about
April 30, 2002, defendant KACHIKIAN charged defendant PELLICANO
more than $13,425 for continued work on the “Telesleuth” hardware
and software.

8B. On or about February 12, 2002, defendant TURNER caused
an inquiry to be made of a proprietary SBC computer database to
obtain telephone information regarding “Johnny Friendly.”

89. In or around February 2002, defendant PELLICANO used
the “Telesleuth” program to intercept telephone communications of
Sylvester Stallone. |

90. On or about May 16, 2002, defendant TURNER caused an
inquiry to be made of a proprietary SBC computer database to
obtain telephone information regarding Anita Busch.

91. Beginning on a date unknown to the Grand Jury, and
continuing to on or about November 5, 2002, defendant PELLICANO
used the “Telesleuth” program to intercept telephone

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communications of Anita Busch.

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COUNT NINETY-SIX
[18 U.S.C. §§ 2511(1) (a), 2]
[Interception of Wire Communications]

[Defendants PELLICANO, TURNER, KACHIKIAN, and PFEIFER]

92. Beginning on or about August 2, 2000, and continuing
until at least on or about November 6, 2000, in Los Angeles
County, within the Central District of California, defendants
ANTHONY PELLICANO, RAYFORD EARL TURNER, and KEVIN KACHIKIAN,
aided and abetted by defendant ROBERT PFEIFER, intentionally
intercepted, endeavored to intercept, and procured another person

to intercept and endeavor to intercept, wire communications of

Erin Finn.

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[Defendants PELLICANO, TURNER, KACHIKIAN, ABNER NICHERIE, and

93. Beginning in or around August 2000 and continuing until

COUNT NINETY-SEVEN
[18 U.S.C. §§ 2511(1) (a), 2]

fInterception of Wire Communications]

DANIEL NICHERIE]

in or around December 2000, in Los Angeles County, within the

Central District of California, defendants ANTHONY PELLICANO,

RAYFORD EARL TURNER, and KEVIN KACHIKIAN, aided and abetted by

defendants ABNER NICHERIE and DANIEL NICHERIE, intentionally

intercepted, endeavored to intercept, and procured another person

to intercept and endeavor to intercept, wire communications of

Ami Shafrir.

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COUNT NINETY-EIGHT
[i8 U.S.C. § 2511(1) (a) ]
{Interception of Wire Communications]
[Defendants PELLICANO, TURNER, and KACHIKIAN]

94, On or about January 8, 2001, in Los Angeles County,
within the Central District of California, defendants ANTHONY
PELLICANO, RAYFORD EARL TURNER, and KEVIN KACHIKTAN intentionally
intercepted, endeavored to intercept, and procured another person

to intercept and endeavor to intercept, wire communications of

Lisa Gores.

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COUNT NINETY-NINE
[18 U.S.C. § 2511(1) (a)]}
[Interception of Wire Communications]
[Defendants PELLICANO, TURNER, and KACHIKIAN]

95, Between in or around January 2001 and in or around June
2001, in Los Angeles County, within the Central District of
California, defendants ANTHONY PELLICANO, RAYFORD EARL TURNER,
and KEVIN KACHIKIAN intentionally intercepted, endeavored to
intercept, and procured another person to intercept and endeavor

to intercept, wire communications of Laura Buddine.

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COUNT ONE HUNDRED
[18 U.S.C. § 2511(1) (a) ]
[Interception of Wire Communications] .
[Defendants PELLICANO, TURNER, and KACHIKIAN]

96. Between in or around’ February 2001 and in or around
April 2001, in Los Angeles County, within the Central District of
California, defendants ANTHONY PELLICANO, RAYFORD EARL TURNER,
and KEVIN KACHIKIAN -intentionally intercepted, endeavored to

intercept, and procured another person to intercept and endeavor

to intercept, wire communications of Vincent Bo 4enga.

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COUNT ONE HUNDRED AND ONE
[18 U.S.C. § 2511(1) (a}]
[Interception of Wire Communications]
[Defendants PELLICANO, TURNER, and KACHIKIAN]

97. In or around April 2001, in Los Angeles County, within
the Central District of California, defendants ANTHONY PELLICANO,
RAYFORD EARL TURNER, and KEVIN KACHIKIAN intentionally
intercepted, endeavored to intercept, and procured another person
to intercept and endeavor to intercept, wire communications of

Aaron Russo.

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COUNT ONE HUNDRED AND TWO
[18 U.S.C. § 2511(1) (a))
[Interception of Wire Communications]
[Defendants PELLICANO, TURNER, and KACHIKIAN]

98. In or around May 2001, in Los Angeles County, within
the Central District of California, defendants ANTHONY PELLICANO,
RAYFORD EARL TURNER, and KEVIN KACHIKIAN intentionally
intercepted, endeavored to intercept, and procured another person

to intercept and endeavor to intercept, wire communications of

Keith Carradine.

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COUNT ONE HUNDRED AND THREE
[18 U.S.C. § 2511(1) (a)]
[Interception of Wire Communications]
[Defendants PELLICANO, TURNER, and KACHIKIAN]

99. In or around February 2002, in Los Angeles County,
within the Central District of California, defendants ANTHONY
PELLICANO, RAYFORD EARL TURNER, and KEVIN KACHIKIAN intentionally
intercepted, endeavored to intercept, and procured another person
to intercept and endeavor to intercept, wire communications of

Sylvester Stallone.

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COUNT: ONE: HUNDRED AND FOUR
(18 U.S.C. § 2511(1) (a) ]
[Interception of Wire Communications]
[Defendants PELLICANO, TURNER, and KACHIKIAN]

100. Beginning on a date unknown to the Grand Jury, and
continuing to on or about November 5, 2002, in Los Angeles
County, within the Central District of California, defendants
ANTHONY PELLICANO, RAYFORD EARL TURNER, and KEVIN KACHTKIAN
intentionally intercepted, endeavored to intercept, and procured

another person to intercept and endeavor to intercept, wire

communications of Anita Busch.

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COUNT ONE HUNDRED AND FIVE

[18 U.S.C. §§ 2512(1) (b), 2]
[Possession of Wiretapping Device]
[Defendants PELLICANO and KACHIKIAN]

101. From in or around July 2000 to on or about November 21,
2002, in Los Angeles County, within the Central District of
California, defendants ANTHONY PELLICANO and KEVIN KACHIKIAN
intentionally manufactured, assembled, and possessed, and caused
to be manufactured, assembled, and possessed, an electronic,
mechanical, and other device, knowing and having reason to know
that the design of such device rendered it primarily useful for
the purpose of the surreptitious interception of wire
communications, and that such device and any component thereof
had been sent through the mail and transported in interstate and

foreign commerce.

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COUNT ONE HUNDRED AND SIX
(18 U.S.C. § 371)

[Conspiracy]

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[Defendants PELLICANO and CHRISTENSEN]
A. OBJECTS OF THE CONSPIRACY

102. Beginning on or about March 15, 2002, and continuing
until on or about May 16, 2002, in Los Angeles County, within the
Central District of California, and elsewhere, defendants ANTHONY
PELLICANO and TERRY CHRISTENSEN, and others known and unknown to
the Grand Jury, knowingly conspired and agreed with each other
to:

a. intentionally intercept, endeavor to intercept,
and procure other persons to intercept and endeavor to intercept.
wire communications, in violation of Title 18, United States
Code, Section 2511(1) (a); and

b. intentionally use, and endeavor to use, the
contents of wire communications, knowing and having reason to
know that the information was obtained through the interception
of wire communications, in violation of Title 18, United States
Code, Section 2511(1) (d).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

103. The objects of the conspiracy were to be accomplished,
in substance, as follows:

104. Defendant PELLICANO would implement and maintain an
jllegal wiretap on the telephone of Lisa Bonder Kerkorian, who
was engaged in litigation with a client of defendant CHRISTENSEN,
an attorney licensed in the State of California.

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105. Defendant PELLICANO would listen to Lisa Bonder
Kerkorian’s intercepted telephone conversations, and would
provide the contents of those conversations, including summaries
of privileged attorney-client communications between Lisa Bonder
Kerkorian and her attorneys, to defendant CHRISTENSEN and others
known and unknown to the Grand Jury.

106. Defendant CHRISTENSEN, and others known and unknown to
the Grand Jury, would use the information gleaned from the
illegal wiretap to secure a tactical advantage in litigation by
learning Lisa Bonder Kerkorian’s plans, strategies, perceived
strengths and weaknesses, settlement position, and other
confidential information.

107. Defendant PELLICANO would discuss with defendant
CHRISTENSEN how long the illegal wiretap should remain in place
and when the illegal wiretap should be brought to an end.

108. Defendant CHRISTENSEN would pay defendant PELLICANO at
least $100,000 for defendant PELLICANO’s services in connection
with the illegal wiretap.

Cc. OVERT ACTS

109. On or about each of the following dates, within the
Central District of California and elsewhere, in furtherance of
the conspiracy and to accomplish the objects of the conspiracy,
defendants PELLICANO and CHRISTENSEN, and others known and
unknown to the Grand Jury, committed the following overt acts,
among others:

110. On or about March 15, 2002, defendant PELLICANO
received a telephone call from an attorney who instructed
defendant PELLICANO to contact defendant CHRISTENSEN regarding

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“going after” Lisa Bonder Kerkorian’ s attorney, who had referred
defendant CHRISTENSEN to the State Bar of California.

112. On or about March 25, 2002, defendant CHRISTENSEN paid
$25,000 to defendant PELLICANO for the purpose of implementing an
illegal wiretap to intercept the telephone calls of Lisa Bonder
Kerkorian, including calls between her and her attorneys.

112. In or around April and May 2002, defendant PELLICANO
used the “Telesleuth” program to intercept telephone

communications of Lisa Bonder Kerkorian.

113. On or about April 18, 2002, defendant PELLICANO related
to defendant CHRISTENSEN, in order to “help” defendant
CHRISTENSEN with a hearing that day, the contents of intercepted
telephone calls between Lisa Bonder Kerkorian and her. attorneys
in which they discussed their reactions to a prior court ruling,
their litigation strategies, and their settlement position.

114. On or about April 22, 2002, defendant PELLICANO related
to defendant CHRISTENSEN the contents of intercepted telephone
calls between Lisa Bonder Kerkorian and her attorneys and warned
defendant CHRISTENSEN to “be very careful about this because
there is only one way for me to know this.”

115. On or about April 22, 2002, defendant PELLICANO told
defendant CHRISTENSEN that Lisa Bonder Kerkorian’s child “gets on
the phone maybe five or six times a week and just cries into the
phone.”

116. On or about April 26, 2002, defendant CHRISTENSEN asked
defendant PELLICANO what he had heard and noted that defendant

PELLICANO had been waiting to find out what “to listen about.”

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117. On or about April 26, 2002, defendant PELLICANO related
to. defendant CHRISTENSEN the contents of intercepted telephone
calls between Lisa Bonder Kerkorian and her attorneys in which

they discussed their settlement position.

118. On or about April 27, 2002, defendant CHRISTENSEN asked
defendant PELLICANO what Lisa Bonder Kerkorian was discussing

with her attorneys.

119. On or about April 27, 2002, defendant PELLICANO related
to defendant CHRISTENSEN the contents of intercepted telephone
calls between Lisa Bonder Kerkorian and her attorneys in which
they discussed their settlement position, including quoting to
defendant CHRISTENSEN Lisa Bonder Kerkorian’s “exact words.”

120. On or about April. 27, 2002, defendant, PELLICANO related
to defendant CHRISTENSEN the contents of an intercepted call
between Lisa Bonder Kerkorian and her father, and reminded
defendant CHRISTENSEN that “there is no way, except with my
unique techniques, that you would know this.”

121. On or about April 28, 2002, defendant PELLICANO related
to defendant CHRISTENSEN the contents of intercepted telephone
calls between Lisa Bonder Kerkorian and her attorneys in which
Lisa Bonder Kerkorian discussed the identity of her child’s
biological father.

122. On or about April 28, 2002, defendant PELLICANO told
defendant CHRISTENSEN that he was “hearing both sides, you know,
I’m hearing her talk to Kirk [Kerkorian] too. That’s not for
attribution; I mean for distribution, but I’m hearing both of

them, I’m hearing all of it, the whole nine yards.”

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123. On or about April 29, 2002, defendant PELLICANO related
to defendant CHRISTENSEN the contents of intercepted telephone
calls between Lisa Bonder Kerkorian and mediator Debra Simon, who
was attempting to resolve the litigation between Lisa Bonder
Kerkorian and defendant CHRISTENSEN’s client.

124. On or about April 29, 2002, defendant CHRISTENSEN
discussed with defendant PELLICANO the words that Lisa Bonder
Kerkorian had used in a conversation with her attorney.

125. On or about April 29, 2002, defendant PELLICANO assured
defendant CHRISTENSEN that “I know everything that’s going on,

and obviously they don’t know I know. Nobody knows except you

and me.”

defendant CHRISTENSEN the contents of intercepted telephone calls
between Lisa Bonder Kerkorian and her attorneys in which they
discussed their reactions to a previous court hearing.

127. On or about May 3, 2002, defendant PELLICANO told
defendant CHRISTENSEN that he had another 364 intercepted
telephone conversations that he had to listen to.

128. On or about May 3, 2002, defendant PELLICANO told
defendant CHRISTENSEN about a conversation between Lisa Bonder
Kerkorian and her attorney that was “worth its weight in gold.”

129, On or about May 8, 2002, defendant PELLICANO related to
defendant CHRISTENSEN the contents of intercepted telephone calls
between Lisa Bonder Kerkorian and her attorneys in which they
discussed their settlement expectations.

130. On or about May 8, 2002, defendant CHRISTENSEN told
defendant PELLICANO that he liked what he had learned from

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126. On or about May 3, 2002, defendant PELLICANO related to |.

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defendant PELLICANO and that he was thinking about sending “a
Little more expense money” to cover the cost of the wiretap.

131. On or about May 9, 2002, defendant PELLICANO related to
defendant CHRISTENSEN the contents of intercepted telephone calls
between Lisa Bonder Kerkorian and mediator Debra Simon.

°132..On or about May 10, 2002, defendant PELLICANO related
to defendant CHRISTENSEN the contents of intercepted telephone
calls between Lisa Bonder Kerkorian and her attorneys in which
they discussed the tax returns of defendant CHRISTENSEN’s client.

133. On or about May 10, 2002, defendant PELLICANO told
defendant CHRISTENSEN about the “elation” that Lisa Bonder
Kerkorian felt after a telephone call with Debra Simon, and

defendant -CHRISTENSEN said that he would pass the information on

to his client.

134. On or about May 14, 2002, defendant CHRISTENSEN told
defendant PELLICANO that it would be “interesting” to know what
Lisa Bonder Kerkorian’s lawyers would tell her about the court
proceedings that day, ordered Pellicano to listen to that day’s
intercepted conversations, and said that they would decide the

next day whether to continue with the wiretap.

135. On or about May 14, 2002, defendant CHRISTENSEN paid
$75,000 to defendant PELLICANO as additional payment for services
in connection with the illegal wiretap.’

136. On or about May 15, 2002, defendant CHRISTENSEN
instructed defendant PELLICANO to “wrap up” the illegal wiretap
of Lisa Bonder Kerkorian, and defendant PELLICANO told defendant
CHRISTENSEN that it would be “too difficult” and “too dangerous”
to reinitiate the wiretap once it was disconnected.

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137. On or about May 16, 2002, defendant CHRISTENSEN told
defendant PELLICANO that he had been “great,” and defendant

PELLICANO confirmed that “the switch gets shut.”

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COUNT ONE HUNDRED AND SEVEN
[18 U.S.C. §§ 2511(1) (a), 2]
[Interception of Wire Communications]
[Defendants PELLICANO and CHRISTENSEN]
139. In or around April and May 2002, in Los Angeles County,
within the Central District of California, defendant ANTHONY
PELLICANO, aided.and abetted by defendant TERRY CHRISTENSEN,
intentionally intercepted, endeavored to intercept, and procured
another person to intercept and endeavor to intercept, wire

‘communications of Lisa Bonder Kerkorian.

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COUNT ONE HUNDRED AND EIGHT
[18 U.S.C. § 1001(a) (2)]
[False Statements]
[Defendant ARNESON]

140. On or about July 9, 2003, in Los Angeles County, within
the Central District of California, in a matter within the
jurisdiction of the United States Department of Justice, Federal
Bureau of Investigation (“FBI”), an agency of the executive
branch of the Government of the United States, defendant MARK
ARNESON knowingly and willfully made a materially false,
fictitious, and fraudulent statement, in that, during an
interview conducted by the FBI, defendant ARNESON claimed that he
had conducted inquiries of law enforcement databases on the name
“Anita Busch” based on his belief that Anita Busch was involved
in gambling or other organized crime activities, when in fact, as
defendant ARNESON well knew, he had conducted those inquiries at
the behest of Anthony Pellicano and for no legitimate law

enforcement interest.

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COUNT ONE HUNDRED AND NINE
[18 U.S.C. § 1001 (a) (2) )
{False Statements]
[Defendant TURNER]

141. On or about January 28, 2003, in Los Angeles County,
within the Central District of California, in a matter within the
jurisdiction of the United States Department of Justice, Federal
Bureau of Investigation (“FBI”), an agency of the executive
branch of the Government of the United States, defendant RAYFORD
EARL TURNER knowingly and willfully made a materially false,
fictitious, and fraudulent statement, in that, during an
interview conducted by the FBI, defendant TURNER claimed that he
had never assisted Anthony Pellicano in wiretapping telephones or
making proprietary telephone company information available -to
Pellicano, when in fact, as defendant TURNER well knew, he had

regularly assisted Pellicano in wiretapping telephones and in

‘making proprietary telephone company information available to

Pellicano.

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COUNT ONE HUNDRED AND TEN
[18 U.S.C. § 1512 (b) (3) ]
[Witness Tampering]
{Defendant PFEIFER]

142. On or about June 23, 2003, in Los Angeles County,
within the Central District of California, defendant ROBERT
PFEIFFER knowingly used intimidation, threatened, and corruptly
persuaded witness Erin Finn, and attempted to do so, and engaged
in misleading conduct toward that witness, with intent to hinder,
delay, and prevent the communication to a law enforcement officer
of information relating to the commission and possible commission

of a Federal offense.

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COUNT ONE HUNDRED AND ELEVEN
[18 U.S.C. § 15312 (ec) (1}]
[Destruction of Evidence]

[Defendant KACHIKIAN]

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143. In or around December 2002, in Los Angeles County,
within the Central District of California, defendant KEVIN
KACHIKIAN corruptly altered, destroyed, mutilated, and concealed
a record, document, and other object, namely, computer files,
hardware, and software relating to the “Telesleuth” computer
program, and attempted to do so, with the intent to impair the

object's integrity and availability for use in an official

 

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COUNT ONE HUNDRED AND TWELVE
f18 U.S.C. § 1963]
, [RICO Forfeiture]
[Defendants PELLICANO, ARNESON, and TURNER]

144. The allegations contained in Counts One and Two of this
Indictment are hereby repeated, realleged, and incorporated by
reference herein as though fully set forth at length for the
purpose of aileging forfeiture pursuant to the provisions of ,
Title 18, United States Code, Section 1963. Pursuant to Rule
32.2, Fed. R. Crim. P., notice is hereby given to the defendants
that the United States will seek forfeiture as part of any
sentence in accordance with Title 18, United States Code, Section
1963°in the event of any defendant’s conviction under Counts One
and Two of this Indictment.

145. Defendants ANTHONY PELLICANO, MARK ARNESON, and RAYFORD
EARL TURNER: |

a. have acquired and maintained interests in
violation of Title 18, United States Code, Section 1962, which
interests are subject to forfeiture to the United States pursuant
to Title 18, United States Code, Section 1963(a) (1); and

be have property constituting and derived from
proceeds obtained, directly and indirectly, from racketeering
activity, in violation of Title 18, United States Code, Section
1962, which property is subject to forfeiture to the United
States pursuant to Title 18, United States Code, Section
1963 (a) (3).
146. The interests of defendants PELLICANO, ARNESON, and

TURNER subject to forfeiture to the United States pursuant to

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Title 18, United States Code, Section 1963{a)(1}) and (3), include

but are not limited to at least $1,919,250. ga

146. If any of the property described in the immediately

preceding paragraph, as a result of any act or omission of a

defendant --

a. cannot be located upon the exercise of due
diligence;

b. has been transferred or sold to, or deposited
with, a third party;

om has been placed beyond the jurisdiction of the
court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be divided without difficulty,
the court shall order the forfeiture of any other property of the
defendants up to the value of any property set forth in paragraph

145 above.

147. The above-named defendants, and each of them, are
jointly and severally liable for the forfeiture obligations as

alleged above.

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GEORGE &. CARDONA
Acting Uni States Attorney

   

THOMAS P. O’BRIEN
Assistant United States Attorney
Chief, Criminal Division

DANIEL A. SAUNDERS

KEVIN M. LALLY

Assistant United States Attorneys
Organized Crime & Terrorism Section

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149. All pursuant to Title’18, United States Code, Section

A TRUE BILL

/s/

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